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                             UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
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11 ALONZO BERNARD JOHNSON,                        Case No. 2:18-cv-06293-FLA (JCx)
12
                          Petitioner,
13
                   v.                             JUDGMENT
14
15 SHERMAN STEWART, Warden,
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                        Respondent.
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18
            Pursuant to this court’s Order Accepting Findings, Conclusions and
19
      Recommendations of United States Magistrate Judge,
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            It is ADJUDGED that the Petition for Writ of Habeas Corpus by a Person in
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      State Custody and the Supplemental Petition are DENIED, and this action is
22
      DISMISSED with prejudice.
23
            IT IS SO ADJUDGED.
24
25    Dated: October 28, 2021
26                                      _____________________________
27                                      FERNANDO L. AENLLE-ROCHA
                                        United States District Judge
28
